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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  DEMETRIUS JOHNSON                                   )
                                                      )    Case No. 20 CV 4156
                Plaintiff,                            )
                                                      )    Judge Sara L. Ellis
           v.                                         )
                                                      )    Magistrate Judge Heather K. McShain
  REYNALDO GUEVARA, et al.                            )
                                                      )
                                                      )    JURY DEMAND
                                                      )
                Defendants.                           )


                                    JOINT STATUS REPORT

          Pursuant to this Court’s Order (Dkt. 163) the parties submit the following joint status
report:

          A. Status of Fact Discovery

          Fact discovery is set to close on October 27, 2022. The parties have completed nearly all

fact discovery in this case. A very limited number of discovery issues remain, which the parties

are discussing in the hope that they can resolve them without the Court’s assistance.

          In addition, the parties intend to take the deposition over the next month of seven third-

party witnesses, specifically: (1) CPD officer Charlotte Galvez who, along with Defendant Daley,

arrested Bryan Johns on the night of the crime, and has been avoiding service of a second

deposition subpoena since August 2022; (2) ASA Lavin, who was one of the Assistant State’s

Attorneys who prosecuted Plaintiff; (3) ASA Buckley, who was one of the Assistant State’s

Attorneys who prosecuted Plaintiff. After conference with the Defendants about narrowing the

parties’ respective disclosures, Plaintiff issued subpoenas and notices for the depositions of these

ASAs. The subpoenas were sent to Jessica Scheller at the CCSAO, who is inquiring whether these

ASAs will accept service. (4) Carlos McFadden, who was disclosed on November 2, 2020 and


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signed a declaration on October 18, 2022 which purports to provide information relevant to

Plaintiff’s lawsuit, which was produced by Plaintiff on October 19, 2022; (5) Terrell Agee, who

was disclosed on November 2, 2020 and signed a declaration on October 20, 2022 which purports

to provide information relevant to Plaintiff’s lawsuit, which was produced by Plaintiff on October

20, 2022; (6) Darrell Johnson, Plaintiff’s brother; and (7) Josh Tepfer, Plaintiff’s post-conviction

attorney whose deposition was started but has not yet been completed.

        In addition, Plaintiff filed a motion for leave to file for summary judgment on his Brady

claim against Defendant Guevara. Dkt. 164. The Court denied Plaintiff’s motion without prejudice

and ordered the parties to submit a summary judgment briefing schedule and expert discovery

schedule in this joint status report.

    The parties disagree about the fact discovery, expert discovery, and summary judgment

briefing schedules. The parties’ respective positions are outlined below:

    1. Plaintiff’s Position:

        Fact Discovery: Plaintiff believes that the parties will be able to complete the remaining

depositions by November 30, 2022, and he asks the Court extend the fact-discovery schedule by

30 days, up to and including November 30, 2022.

        Expert Discovery: Plaintiff proposes that Plaintiff will make Rule 26(a)(2) disclosures on

December 20, 2022; and Defendants will make Rule 26(a)(2) disclosures on January 20, 2022.

Many of the experts who will be disclosed in this case have issued reports in multiple other

Guevara cases in recent months, on overlapping issues, and many have already been deposed at

length about their opinions. Thus, a shorter expert discovery schedule is appropriate.

        Summary Judgment Briefing: The litigation of Plaintiff’s motion for summary judgment

against Defendant Guevara on the Brady claim will not implicate expert discovery whatsoever.




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Accordingly, Plaintiff proposes the following summary judgment briefing schedule: Plaintiff will

file his summary judgment motion on November 30, 2022; Defendants will respond by December

30, 2022; Plaintiff will file his reply on January 13, 2023.

   2. Defendants’ Position:

       Fact Discovery: Defendants seek a 60-day extension of the current fact discovery deadline,

up to and including December 30, 2022.

       Expert Discovery: Defendants propose that Plaintiff will make Rule 26(a)(2) disclosures

on December 30, 2022; Defendants will depose Plaintiff’s experts by February 28, 2023 and

Defendants will make Rule 26(a)(2) disclosures on April 14, 2022. While there is overlap in the

datasets that the Monell experts rely on in the other Guevara cases they are not the same. To date,

the depositions of Plaintiffs’ Monell experts in the Guevara cases have only proceeded in the

consolidated cases of Solache/Reyes. In all the other Guevara cases, the expert schedules extend

out as far as May 2023. In fact, some Plaintiffs in the Guevara cases have added new experts than

those disclosed in the earlier cases and in some of the cases Plaintiffs have disclosed seven (7)

experts. Here, Plaintiff informed Defendants he intends to disclose seven experts. Moreover,

Plaintiff’s counsel here has argued in all of the other Guevara cases that because the experts are

mostly the same and there is some overlap in the datasets that truncated expert discovery schedules

are appropriate. No other Judge handling the Guevara cases has ordered a truncated expert

discovery schedule. This case sits no differently than the rest.

       Summary Judgment Briefing: The litigation of Plaintiff’s motion for summary judgment

against Defendant Guevara on the Brady claim will not implicate expert discovery. Accordingly,

Defendants propose the following summary judgment briefing schedule: Plaintiff will file his

summary judgment motion on December 30, 2022; Defendants will respond by February 28, 2023;




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Plaintiff will file his reply on March 14, 2023. Defendants also intend to file summary judgment

but need expert discovery to be completed before they can do so.

       B. Status of Settlement Discussions

       Plaintiff made a demand to the Defendants, to which Defendants responded. Settlement

discussions among counsel took place but the parties did not reach a resolution. Plaintiff has

withdrawn his demand. Defendants offer remains on the table. The parties have not had further

settlement discussions.




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RESPECTFULLY SUBMITTED,


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                                CERTIFICATE OF SERVICE

       I, Danielle Hamilton, an attorney, certify that on October 26, 2022, I filed the foregoing
pleading using the Court’s CM/ECF system, which effected service on all counsel of record.


                                                     /s/ Danielle Hamilton
                                                     One of Plaintiff’s Attorneys




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